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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SECULAR STUDENT ALLIANCE, et al.,

               Plaintiffs,

 v.
                                                       CASE NO.: 1:21-cv-00169-ABJ
 U.S. DEPARTMENT OF EDUCATION, et al.,

               Defendants.


                                  JOINT STATUS REPORT

      The Parties hereby submit the following status report in accordance with the Court’s March

9, 2023 Minute Order:

      1. The Secular Student Alliance (“SSA”) and Mr. Declan Galli filed this suit on January

          19, 2021, challenging a provision of the U.S. Department of Education’s (“ED”)

          rulemaking entitled “Direct Grant Programs, State-Administered Formula Grant

          Programs, Non Discrimination on the Basis of Sex in Education Programs or Activities

          Receiving Federal Financial Assistance, Developing Hispanic-Serving Institutions

          Program, Strengthening Institutions Program, Strengthening Historically Black

          Colleges and Universities Program, and Strengthening Historically Black Graduate

          Institutions Program” (“the Rule”), 85 Fed. Reg. 59,916 (Sept. 23, 2020). ECF No. 1.

      2. On January 20, 2021, new leadership assumed responsibility for ED.

      3. ED previously informed undersigned counsel for Defendants that it is considering

          regulatory options related to the Rule that may moot or limit the issues in this litigation.

          See ECF Nos. 21, 22.

      4. To preserve judicial resources and maximize the efficient resolution of this case, the

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   Parties jointly requested that the Court stay this case to allow Defendants time to

   consider regulatory options related to the Rule. The Court granted the Parties’ motion

   to stay on April 21, 2021.

5. On August 19, 2021, ED published a blog post entitled “Update on the Free Inquiry

   Rule.” https://blog.ed.gov/2021/08/update-on-the-free-inquiry-rule/. Therein, ED

   stated that, “[f]ollowing completion of [its] review” of the aspects of the Rule codified

   in 34 CFR parts 75 and 76, it “anticipate[s] publishing a notice of proposed rulemaking

   in the Federal Register to propose rescinding parts of the Free Inquiry Rule.” Id.

6. In light of ED’s stated intent to propose rescission of portions of the Rule, the Parties

   agreed that a further stay of this case was appropriate for an additional 60 days, and

   proposed that the Parties file a joint status report in 60 days to update the Court on ED’s

   regulatory activities related to the Rule and the Parties’ positions on whether the case

   should continue to be stayed. See ECF No. 24. That same day, the Court continued the

   stay and ordered another joint status report by October 19, 2021. See Minute Order

   (Aug. 20, 2021).

7. On October 19, 2021 the Parties filed a joint status report updating this Court on the

   status of ED’s regulatory actions. See ECF No. 26. ED stated that it intended to publish

   an entry in the Fall 2021 Unified Agenda announcing ED’s intent to publish a Notice

   of Proposed Rulemaking that will propose rescinding provisions of the Free Inquiry

   Rule. ED also stated that it was targeting a publication date of Spring 2022 for the

   Notice of Proposed Rulemaking. In light of ED’s anticipated regulatory actions, the

   Parties agreed that a further stay of this case was appropriate, and they requested that

   this Court continue the stay of these proceedings. See ECF No. 26. The Court did so



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   and ordered the Parties to submit another joint status report by February 18, 2022. See

   Minute Order (Oct. 20, 2021).

8. On February 18, 2022, the Parties filed a joint status report, updating the Court that ED

   had published an entry in the Fall 2021 Unified Agenda announcing ED’s intent to

   publish a Notice of Proposed Rulemaking that will propose rescinding provisions of

   the Free Inquiry Rule and that it continued to make progress towards publication of this

   Notice of Proposed Rulemaking. See ECF No. 27. In light of ED’s continued progress,

   the Parties asked the Court to continue the stay of proceedings, with the Parties filing

   another joint status report in 120 days. Id. The Court granted the request and ordered

   the Parties to submit a joint status report by June 28, 2022. See Minute Order (February

   22, 2022).

9. On June 28, 2022, the Parties filed a joint status report, updating the Court that ED had

   continued to work on a Notice of Proposed Rulemaking, including addressing

   comments received from the Office of Information and Regulatory Affairs (“OIRA”)

   and other agencies. The Parties also noted that ED is balancing drafting the Notice of

   Proposed Rulemaking with a number of other regulatory packages. In light of the

   Parties’ report, the Court ordered that the case remained stayed and that the parties were

   to submit another joint status report by September 27, 2022. See Minute Order (June

   29, 2022).

10. On September 27, 2022, the Parties proposed that the case remain stayed and another

   status report be filed in 90 days. The Court granted the request and ordered the Parties

   to file a joint status report by December 27, 2022. See Minute Order (September 28,

   2022).



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11. On December 19, 2022, OIRA concluded its original regulatory review of the Notice

   of Proposed Rulemaking.

12. On December 27, 2022, the Parties proposed that they file another joint status report in

   21 days to update the Court on publication of the Notice of Proposed Rulemaking and

   the Parties’ positions on whether the case should continue to be stayed. See ECF No.

   31. On December 29, 2022, the Court entered a minute order requiring the Parties to

   submit a further joint status report on January 20, 2023.

13. On January 20, 2023, the Parties filed a joint status report informing the Court that ED

   made additional changes to the Notice of Proposed Rulemaking that necessitated

   further OIRA review, and that ED anticipated that OIRA’s review would be complete

   within 30 days. See ECF No. 32. The Parties proposed that they file a joint status report

   in 30 days to update the Court on publication of the Notice of Proposed Rulemaking

   and the Parties’ positions on whether the case should continue to be stayed. Id. On

   January 23, 2023, the Court entered a minute order requiring the Parties to submit a

   further status report on February 23, 2023.

14. On February 23, 2023, the Parties filed a joint status report notifying the Court that, on

   February 22, 2023, ED published a Notice of Proposed Rulemaking in the Federal

   Register entitled “Direct Grant Programs, State-Administered Formula Grant

   Programs,” proposing to rescind the regulation challenged by Plaintiffs in this case. 88

   Fed. Reg. 10,857. In that Notice of Proposed Rulemaking, ED asked for all comments

   by March 24, 2023. Id. The Parties proposed filing a joint status report in 90 days to

   update the Court on the rulemaking process and the Parties’ positions on whether the

   case should continue to be stayed.



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      15. Since the Parties’ last joint status report, the comment period on ED’s Notice of

         Proposed Rulemaking closed and ED received over 58,000 comments in response to

         the Notice of Proposed Rulemaking. At this time, ED is working through its review of

         the substantial volume of public comments.

      16. Accordingly, the Parties agree that the case should remain stayed at this time. The

         Parties propose that they file a joint status report in 90 days to update the Court on the

         rulemaking process and the Parties’ positions on whether the case should continue to

         be stayed.



Dated: May 24, 2023                 Respectfully submitted,


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